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                                UNITED STATES DISTRICT COURT

                              NORTHERN DISTRICT OF CALIFORNIA

                                     SAN FRANCISCO DIVISION


ANGEL DE JESUS ZEPEDA RIVAS, et al.,            )   CASE NO. 3:20-cv-02731-VC
                                                )
        Plaintiffs,                             )   DECLARATION OF ASSISTANT FIELD
                                                )   OFFICE DIRECTOR ALEXANDER PHAM IN
   v.                                           )   SUPPORT OF FEDERAL DEFENDANTS’
                                                )   MOTION TO DISSOLVE TEMPORARY
DAVID JENNINGS, et al.,                         )   RESTRAINING ORDER, MOTION TO STAY,
                                                )   AND OPPOSITION TO PLAINTIFFS’ MOTION
        Defendants.                             )   FOR PRELIMINARY INJUNCTION
                                                )


        I, Alexander Pham, make the following statements under oath and subject to penalty of perjury:

        1.      I am an Assistant Field Office Director (“AFOD”) with the Department of Homeland

Security (“DHS”), Immigration and Customs Enforcement (“ICE”), Enforcement and Removal

Operations (“ERO”), in the San Francisco Field Office (“ERO San Francisco”). I have held this position

since April 2019. I am currently assigned to the Bakersfield Sub-Office within ERO San Francisco,

which is responsible for oversight of Mesa Verde Detention Facility (“Mesa Verde”) in Bakersfield,

California. I have worked in various other positions within ICE since 2005.

        2.      This declaration is based upon my personal and professional knowledge and information,

belief, reasonable inquiry, and review of information obtained from various records, systems, databases,

other DHS employees, employees of DHS contract facilities, and information portals maintained and

relied upon by DHS in the regular course of business.

        3.      ICE is charged with removing aliens who lack lawful immigration status in the United

States. Detention is an important and necessary part of immigration enforcement. The Immigration and

Nationality Act (“INA”) authorizes detention of aliens pending removal under sections 235, 236, and

241 of the INA, 8 U.S.C. §§ 1225, 1226, 1231. ICE is required by Congressional statute under section

236(c) of the INA, 8 U.S.C. § 1226(c), to mandatorily detain aliens convicted of certain crimes, and

these aliens are ineligible for release from ICE custody pending completion of removal proceedings.

ICE is similarly required by Congressional statute under section 235(b) of the INA, 8 U.S.C. § 1225(b),


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to detain certain aliens seeking entry into the United States or who entered the United States without

inspection and who are believed to be subject to removal. ICE similarly is required by Congressional

statute under 241(a)(2) of the INA, 8 U.S.C. § 1231(a)(2), to generally mandatorily detained and remove

aliens who have final administrative removal orders during the first 90 days of the removal period. In

other cases, aliens may be detained by ICE pending removal as a matter of discretion under sections 235

and 236(a) of the INA, 8 U.S.C. §§ 1225, 1226(a), because they present a danger to the community or

pose a flight risk, or under section 241(a)(6) of the INA, 8 U.S.C. § 1231(a)(6), once the removal period

has expired and where release on supervision may be appropriate if there is no significant likelihood of

removal in the foreseeable future.

       4.      Mesa Verde is a private detention center owned and managed by The GEO Group, Inc.

(“GEO”). GEO is an independent contractor that provides the facility, management, personnel and

services for 24-hour supervision of aliens in ICE custody at Mesa Verde. Besides GEO’s own private

internal oversight and inspection processes, the federal government also mandates oversight through

various inspection processes by ICE and other entities.

       5.      At Mesa Verde, ERO is responsible for managing the immigration cases of detained

individuals. In addition, ERO is responsible for observing, identifying, and notifying GEO of any

perceived deficiencies in its adherence to the Performance-Based National Detention Standards

(“PBNDS”) 2011, and any other mandated requirements, such as those associated with COVID-19

protections, in its management and operation of Mesa Verde.

       6.      As an AFOD, I manage the docket for individuals detained at Mesa Verde, including

supervising Supervisory Detention and Deportation Officers and other detention and deportation staff

who are responsible for the review and tracking of aliens’ removal proceedings and detention

placements. My primary responsibilities include immigration case management for those detained at

Mesa Verde and general oversight at Mesa Verde, including monitoring of adherence to the PBNDS

2011, and any other mandated requirements, such as those associated with COVID-19, in its

management and operation of Mesa Verde.

       7.      Mesa Verde has the capacity to house 400 detainees. Mesa Verde has the capability to

identify, isolate, and segregate detainees from each other.

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       8.      On March 11, 2020, the World Health Organization (“WHO”) declared Coronavirus

Disease 2019 (“COVID-19”) a global pandemic. At the time, the population of Mesa Verde was 355

detainees. Since that time, the ERO Bakersfield sub-office has taken affirmative steps to reduce the

number of detainees at Mesa Verde by reviewing its detained population and by reconsidering custody

determinations, parole requests, and issuing orders of supervision on release for those aliens who are not

subject to mandatory custody, pose a danger to the community or flight risk; and/or for whom there is no

significant likelihood of removal in the foreseeable future.

       9.      Consequently, by March 30, 2020, ICE had reduced the Mesa Verde population from 355

to 312, approximately 12%.

       10.     As of May 26, 2020, ICE has reduced the Mesa Verde detainee population from 355 to

168, approximately 53%.

       11.     The net reduction in population from 355 to 168 understates the number of detainees who

have been released from Mesa Verde, as these numbers reflect net releases, not gross releases.1 Between

April 27, 2020 and May 27, 2020, Mesa Verde has admitted 117 new arrivals, of which almost 93% are

subject to some form of statutorily authorized mandatory detention. Many of these new detainees are

aliens with criminal histories released from county jail or state or federal prison. At the same time, ICE

has worked to reduce the population at Mesa Verde. The daily updates that ICE has been providing the

Court state that a total of 194 detainees have been released in the past month, even without counting

releases before April 27, 2020.

       12.     Since no later than May 8, 2020, Mesa Verde has been running at or below 50% of total

capacity.

       13.     As of May 26, 2020, Mesa Verde is currently running at 42% of total capacity.

       14.     There have never been any confirmed or suspected COVID-19 cases at Mesa Verde

among either detainees or staff at any point.

       15.     Mesa Verde medical staff have not encountered any detainee experiencing symptoms

consistent with COVID-19.


       1
         Release from a detention facility includes release into the community, release for removal from
the United States, and release for transfer to another facility for removal from the United States.
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       16.     No Mesa Verde staff member has reported any symptoms consistent with COVID-19.

                                      CDC AND ICE GUIDANCE

       17.     Since the onset of reports of COVID-19, ICE epidemiologists have been tracking the

outbreak, regularly updating infection prevent and control protocols, and issuing guidance to field staff

on screening and management of potential exposure among detainees.

       18.     The Centers for Disease Control and Prevention (“CDC”) issued Interim Guidance on

Management of Coronavirus 2019 (COVID-19) in Correctional and Detention Facilities (https://www.

cdc.gov/coronavirus/2019-ncov/community/correction-detention/guidance-correctional-detention.html),

and its general public guidance (https://www.cdc.gov/coronavirus/2019-ncov/index.html). As noted by

the CDC, “[t]he guidance may need to be adapted based on individual facilities’ physical space, staffing,

population, operations, and other resources and conditions.” ICE endeavors to closely follow the CDC

Guidance where possible, and as recommended, makes adaptations according to each facility’s spacing,

population and resources.

       19.     On April 10, 2020, ICE released its ERO COVID-19 Pandemic Response Requirements

(https://www.ice.gov/doclib/coronavirus/eroCOVID19responseReqsCleanFacilities.pdf), a guidance

document that builds upon previously issued guidance and sets forth specific mandatory requirements

expected to be adopted by all detention facilities housing ICE detainees, as well as best practices for

such facilities, to ensure that detainees are appropriately housed and that available mitigation measures

are implemented with respect to COVID-19.

                            SCREENING NEW ARRIVING DETAINEES

       20.     At Mesa Verde, medical care, including screening of new detainees, is provided by the

GEO medical staff on-site and is overseen by the ICE Health Services Corps (“IHSC”), which provides

medical services through a combination of U.S. Public Health Service Commission Corps officers,

federal civil servants, and contract health professionals. Each ICE facility is assigned an IHSC Field

Medical Coordinator (“FMC”), who serves as a medical consultant to the ICE field offices and oversees

clinical services at facilities like Mesa Verde that house ICE detainees. IHSC’s FMCs ensure that the

provision of medical care by contractors to the ICE detainees within the facilities meets detention

standards, as required by the contract. The FMCs do not provide hands-on care or direct the care within

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the contract facilities but monitor the medical care and services provided by the facilities. Medical staff

at the contract facilities are directly responsible for medical care at the facilities.

        21.     Upon arrival at Mesa Verde, each detainee is screened by nurses, who wear personal

protective equipment, per protocol. During intake screening, new arrivals are given a number of

handouts, including the Centers for Disease Control and Prevention (“CDC”) educational handout on

COVID-19.2 During intake medical screenings, detainees are assessed for fever and respiratory illness

and are asked to confirm if they have had close contact with a person with laboratory-confirmed

COVID-19 in the past 14 days and whether they have traveled from or through area(s) with sustained

community transmission in the past two weeks. The detainee’s responses and the results of these

assessments will dictate whether to monitor or isolate the detainee.

        22.     Mesa Verde has the capability to identify, isolate, and segregate detainees from each

other. Those detainees who are asymptomatic but who may be at risk due to their travel history or

confirmed exposure to COVID-19 patient(s) will be placed in isolation for precautionary monitoring. All

new arrivals transferred from another facility where there are any reported cases of COVID-19 infection

will be placed in isolation for 14 days prior to being released into the general population. In cases

involving suspected, but not confirmed, exposure to COVID-19 patient(s), Mesa Verde will decide, on a

case-by-case basis, whether to isolate these individuals as a prophylactic measure. In such cases,

asymptomatic detainees are, space permitting, individually isolated, or in the alternative, placed in

cohorts with restricted movement for the duration of the most recent incubation period (14 days after the

most recent exposure to an ill detainee) and are monitored daily for fever and symptoms of respiratory

illness. The latter procedure is known as cohorting, which is an infection-prevention strategy that

involves housing detainees together who were exposed to a person with an infectious organism but are

asymptomatic.3 Those detainees that show an onset of fever and/or respiratory illness are referred to a

medical provider for evaluation. Cohorting is discontinued when the 14-day incubation period completes

with no new cases.

        2
         This information is also sent out via tablet messages and reinforced through posters and town
hall meetings with the detainees.
       3
         See the CDC’s Fundamental Elements Needed to Prevent Transmission of Infectious Agents in
Healthcare Settings at https://www.cdc.gov/infectioncontrol/guidelines/isolation/prevention.html.
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        23.     Detainees who present symptoms consistent with COVID-19 will be placed in isolation,

where they will be tested for COVID-19 and influenza to rule out any other source of symptoms. Per the

Health Service Administrator at Mesa Verde, the facility currently has more than 100 COVID test kits in

stock and has the capacity collect specimens onsite and send the specimens to offsite laboratory for

analysis which takes four days to return a result. In testing for COVID-19, Mesa Verde is following

guidance issued by the CDC to safeguard those in its custody and care. If COVID-19 testing is positive,

these individuals will remain isolated and treated. In case of any clinical deterioration, detainees will be

referred to a local hospital.

                                      ONGOING MEDICAL CARE

        24.     Mesa Verde provides daily access to sick calls in a clinical setting and has access to

specialty care services and hospital care. Medical nursing staff is onsite 24 hours a day, seven days a

week, in addition to fulltime mental health and medical (physician/mid-level) providers. Sick calls are

triaged from most urgent to least urgent based on their medical opinions, and detainees are seen in the

order as determined by medical staff. Patients with an urgent need are seen by a provider or registered

nurse the following day. Routine sick calls are scheduled with a provider or nurse and seen within 48–72

hours. Emergency needs will be sent to the local hospital. All requests for off-site medical care are sent

to the medical provider for review. Urgent off-site requests are scheduled with an outside provider as

appointments are available. Due to COVID-19, all outside providers are limiting medical appointments

for urgent or emergent care only.

        25.     Mesa Verde medical staff will continue to examine any detainee who submits a request to

see medical due to symptoms consistent with COVID-19. As discussed in the previous paragraph,

detainees who present symptoms consistent with COVID-19 will be placed in isolation, where they will

be tested for COVID-19 and influenza to rule out any other source of symptoms. If COVID-19 testing is

positive, these individuals will remain isolated and treated. In case of any clinical deterioration,

detainees will be referred to a local hospital

        26.     Per ICE policy, if detainees are diagnosed with any communicable disease, including

COVID-19, the Health Services Administrator at the facility, the site and regional medical directors, and

the ICE FMC are notified through their chain of command. Local public health and CDC will be notified

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with the completion of proper forms for reporting.

       27.     While Mesa Verde has not had any confirmed or suspected cases of COVID-19, were one

to arise, Mesa Verde will house cases with signs and symptoms consistent with COVID-19 in a negative

isolation room with enhanced respiratory droplet nuclei precaution for the staff.

                                   EDUCATION ABOUT COVID-19

       28.     Mesa Verde is providing education regarding COVID-19 to staff and detainees, including

the importance of handwashing and hand hygiene, covering coughs with the elbow instead of with

hands, sanitizing common surfaces, and other health and wellness information.

       29.     Mesa Verde is holding in person town halls for staff and detainees, posting CDC

information throughout the facility regarding COVID-19, the importance of handwashing, social

distancing, and instructions on how to wear properly wear face masks. See Attachments. This

information is continuously provided by electronic informational messages to detainees through tablets

that are located in every dorm room. See id. The dormitory’s representative is also responsible for

conveying the information and reminders to all detainees in his/her respective dormitory.

       30.     The following photographs accurately depict examples of the COVID-19 posters and

information addressing handwashing, mask wearing, and social distancing in the dorms and dining halls,

methods of preventing germ spread, and general COVID-19 facts, that are posted in numerous languages

including English, Spanish, French, Korean, Mandarin and Cantonese, German, Russian, Ukrainian,

Vietnamese, Farsi, Arabic, and Dari. Detainees also receive reminders and updates via tablet. See

Attachments. Additional examples of the posters and information that Mesa Verde has posted are

attached to the end of this declaration. See id.




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       31.     Mesa Verde is requesting detainees to seek immediate medical care if they feel ill.

                                 CLEANING AND SANITIZATION

       32.     Mesa Verde is ensuring frequent cleaning and sanitation of all common area high contact

surfaces, such as door handles, telephones, dining halls, and medical areas, which is being conducted

throughout the day.

       33.     Per the PBNDS, detainees are required to perform housekeeping duties around their

respective areas. Dorms are required to be cleaned daily. Detainees who participate in the detainee work

program are responsible for cleaning the bathroom areas at least once per day in the morning, and

periodically throughout the rest of the day as needed. Detainees who fail to meet the sanitation

requirements as outlined in PBNDS are subject to rule violations for being untidy/unsanitary.

       34.     Each dormitory has its own cleaning cart which is stocked with sanitation supplies,

including, but not limited to, soap, all-purpose cleaner, disinfectant, and a bathroom-specific cleaning

solution, mops, buckets, brooms, brushes, rags, etc. Detainees have regular access to two types of all-

purpose cleaner (Tri-Base and Clean By Proxy), disinfectant (GS Disinfectant), and glass cleaner, which

they are encouraged to use. Cleaning chemicals for spray bottles and mop buckets are refilled by GEO

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staff when needed throughout the day. Towels are also distributed to detainees for cleaning purposes and

are laundered on a daily basis.




       35.     Liquid hand soap and paper towel dispensers are installed at the front of each dormitory

near the sink. In addition, each dormitory has two bathroom areas, and several soap dispensers have

been installed in each bathroom area. In total, each of the four dormitories have the following: A-Dorm

has eight soap dispensers and five towel dispensers; B-Dorm has six soap dispensers and five towel

dispensers; and C-Dorm and D-Dorm each have seven soap dispensers and seven towel dispensers. The


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recreational area bathroom also has one soap dispenser and one towel dispenser. Mesa Verde staff check

the soap dispensers daily to ensure they are promptly refilled as needed.

       36.     Mesa Verde has informed the IHSC FMC that hand sanitizer is not available to detainees

because it is alcohol-based and can be abused by detainees. However, Mesa Verde stated that mounted

hand sanitizer is available at the medical station and the lab station. And detainees have access to liquid

soap and water for hand hygiene, which, per the CDC, are more effective than hand sanitizers at

removing certain kinds of germs. Mesa Verde staff have access to soap and hand sanitizer.

       37.     Upon arrival at Mesa Verde, all detainees are provided free of charge with bar soap,

shampoo, toothpaste and a toothbrush. Reasonable requests for additional supplies of these items are

furnished free of charge. Brand names of these items are also available for purchase if detainees prefer

specific brands.

                                            HOUSING UNITS

       38.     Mesa Verde has four housing units: A-Dorm, B-Dorm, C-Dorm, and D-Dorm. Each dorm

has a maximum capacity of 100 detainees, for a total of 400 detainees for the entire facility.

       39.     ICE has reduced the population at Mesa Verde such that each housing unit is running

below 50 percent capacity. As of May 26, 2020, there were 32 detainees in A-Dorm, 41 detainees in B-

Dorm, 43 detainees in C-Dorm, and 44 detainees in D-Dorm. As of the same date, there is one detainee

in the medical unit and three detainees in the RHU.

       40.     The housing units range from 59.6 feet to 60.5 feet wide, 88.4 feet to 96.1 feet long, and

5,330 total square feet to 5,814 total square feet. Each housing unit contains 100 beds (50 bunk beds).

The bunk beds are affixed to the floor. They are set out in two rows of 25 bunk beds each against two

different walls opposite each other with a walkway in the middle that measures at least eight feet wide in

every dorm. The bunk beds are spaced on average a little over three feet apart. (The exact distances

between bunk beds, which vary slightly from bunk bed to bunk bed, are set out in ICE’s interrogatory

responses.) The vertical distance between the bottom and top bed platforms is 49”.

       41.     Mesa Verde is ensuring that detainees are or will be sleeping at least several feet apart

from each other, positioned so that their faces are at least six feet away from each other. In order to

accomplish this, Mesa Verde has staggered sleeping arrangements in all of its housing units so that no

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two adjacent beds are occupied. No two detainees are sharing a bunk bed, and no detainee has another

detainee in the bed to right of him, the left of him, above him, or below him. Detainees are sleeping one

to each double bunk, alternating between top and bottom bunks, and are instructed to sleep positioned

head-to-feet in the alternating top and bottom bunks. The average distance between the head of a top

bunk and the head of the next alternating bottom bunk is approximately 90 inches.

       42.     The following photographs accurately depicts the current conditions in the housing units.




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       43.     Each housing unit contains two identical common-use bathrooms. The bathrooms range

from 7.2 feet to 8.2 feet wide, 45.8 feet to 50.8 feet long, and 330 total square feet to 417 total square

feet. Each bathroom has seven sinks, five toilets, and five showers. (A-Dorm and B-Dorm additionally

have two Americans with Disabilities Act-compliant single-occupancy toilet/sink/shower stall

combinations.) Detainees may shower at any time except during detainee count times.

       44.     Mesa Verde has taped off and shut down sinks, toilets, and showers in the restrooms to

allow at least six feet of distance between detainees who are using the facilities. The open sinks, toilets,

and showers are more than six feet apart from each other. The number of individuals allowed in the

bathroom at any given time is limited to allow for greater social distancing.

       45.     There are seven sinks per bathroom. To encourage social distancing, only sinks one, four

and seven are operational, and marked with yellow and black tape as demonstrated below. Each sink is


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two feet apart from the adjacent sink. Thus, measuring from the faucet of sink one to sink four, there is

at least six feet distance between the operational sinks as demonstrated by the measuring tape in the

photographs below.




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       46.     There are five toilets in each bathroom. In A-Dorm and B-Dorm, the distance between

each of the toilets is 36 inches or three feet. In C-Dorm and D-Dorm, the distance between each of the

toilets is 29 inches. To encourage social distancing, toilets two and four are turned off and cannot be

used. The working toilets are denoted with yellow and black tape as shown below. In A-Dorm and B-

Dorm, there is six feet of distance between the operational toilets as seen in the photograph below. In C-

Dorm and D-Dorm, there is approximately five feet of distance between the operational toilets.




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       47.    There are five showers in every bathroom. In A-Dorm and B-Dorm, the distance between

each of the showers is 36 inches or three feet. In C-Dorm and D-Dorm, the distance between each of the

showers is 31 inches. To encourage social distancing, showers two and four are turned off and cannot be

used. The working shower heads are denoted with yellow and black tape as shown below. In A-Dorm

and B-Dorm, there is six feet of distance between the operational shower heads as seen in the

photographs below. In C-Dorm and D-Dorm, there is approximately five feet of distance between the

operational shower heads.
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       48.     Each dormitory at Mesa Verde has areas that contain telephone or telephone booths, a

law library, a kitchen, televisions and tables for recreational use.




       49.     Each dormitory has both pay phones and phone booths which were installed to comply

with the Lyon v. U.S. Immigration and Customs Enforcement Settlement Agreement. As demonstrated

by the photographs below, the phone booths are fully enclosed.




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       50.     Per the PBNDS, all detainees must have access to a law library. Each dorm has four law

library kiosks that are situated on tables next to one another due to required network and power wiring.

       51.     Each dormitory also has tablets that are available for conducting legal research or virtual

visits with family. The tablets can be removed from the mounts and transported throughout the dorm but

have to remain on the mount for the video program to work.




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       52.     Each dormitory has four 55” televisions with sound that is transmitted over a FM signal.

The televisions are mounted on the wall at the end of each dorm and can be seen and heard from most

parts of the dormitory.




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        53.     Tables for recreational use at various locations within the dorm and are placed per space

limitations. These tables provide spaces for up to four people. The tables are bolted to the floor and the

detainees use their provided chair. All excess chairs have been removed from the dormitories, but per

the American Correctional Association (“ACA”) standards, a chair must be provided to each detainee so

that s/he can sit in an upright position to do certain activities. Using the tables is at the detainees’

discretion.

        54.     As noted above, there are cleaning carts with spray bottles filled with cleaning chemicals

and rags in each dorm and are available for the detainees to use to sanitize wipe down all the telephones,

the computers, the tablets, the recreational tables, the microwave and the hot water dispenser at their

discretion.

                                              DINING HALLS

        55.     Mesa Verde has two dining halls. The dining halls are each 29 feet wide, 57 feet long,

and 1,653 total square feet. Each dining hall has a maximum capacity of 80 detainees.




        56.     Previously, each dormitory had different meal times. In order to encourage social

distancing, Mesa Verde now staggers meal times within dormitories to limit the number of detainees in a

dining hall to a maximum of 25 at any given time. Movement has been limited to no more than 25

detainees per meal period.
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       57.     The dining halls contain 25 tables, so each detainee is able to sit at his own table during

meals. For each table, one chair has been marked with yellow and black tape to designate the chair

where the detainee should sit in order to allow for social distancing. Mesa Verde staff have been advised

to inform the detainees to sit only one detainee to a table at the specified mark.




       58.     If the detainees sit on the chair marked by the yellow and black tape at each of the 25
tables, detainees will be seated at more than six feet from one another as demonstrated by the

photographs below.




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       59.     Each dorm has detainee “porters” that assist staff in serving the trays to the detainees

from their dorm; they do not serve other dorms. The porters enter the chow hall before the other

detainees in order to prepare to serve the meals. Porters wear gloves, a hairnet/beard guards and are

encouraged to wear the face mask they are provided. The CDC along with various other information

sources have concurred that food/drink transmission of COVID-19 has not been found to be an issue.


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       60.     At Mesa Verde, no detainee is required to attend meal time and may purchase their own

food at the commissary if they prefer. There are some detainees that never consume any of the Mesa

Verde provided meals and only eat food from the commissary. Detainees may walk to the dining hall at

their leisure to consume their meal as long as it is during their scheduled meal time. Upon entry into the

dining hall, detainees pick up their tray and meal when they walk past the hot box before they reach the

seating area. The distance from the respective dorm exits to the chow hall entrance is about 30’. Mesa

Verde staff regularly reminds the detainees that they should socially distance themselves en route and

upon their return from the dining hall and when lining up to get their tray and food.

                                      RECREATIONAL AREAS

       61.     Mesa Verde has two outdoor recreation areas. The distance to the large recreation yards

is 8’ from A-Dorm, 10’ from B-Dorm, 58’ from C-Dorm, and 56’ from D-Dorm. Mesa Verde staff have

been instructed that they should remind all detainees to maintain social distancing en route to the

recreational areas, during their time in the recreational areas and on their way back from the recreational

areas. There are signs that are posted by the seating and exercise equipment areas reminding detainees

that they should socially distance.

       62.     The main yard is an irregular quadrilateral with sides of 159 feet, 73.5 feet, 260.2 feet,

and 255.11 feet, that is 27,493 total square feet and has basketball courts, a place to play squash, open

areas to play soccer and two shaded weight-lifting areas.




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       63.     Postings have also been placed in the recreation area reminding detainees to wipe down

the machines before and after each use. There is a spray bottle with disinfectant and rags the detainees

can use to wipe down surfaces and equipment before and after use.

       64.     No detainee is required to go out to the recreation areas. All detainees are free to stay in

their housing units.

                                                 MASKS

       65.     Since April 17, 2020, all detainees at Mesa Verde are provided free of charge with

surgical masks. When the masks were initially distributed, detainees were educated on proper wear in

order to prevent infection and spread. Mesa Verde offers to replace masks every Monday, Wednesday,

and Friday. As of May 25, 2020, of the 3,882 masks offered, detainees have only accepted 1,507 masks.

While Mesa Verde staff continuously remind detainees to wear masks, the number of detainees observed

wearing surgical masks is low to non-existent in all dorms based on spot checks by Mesa Verde and

ICE. Detainees cannot be forced to wear their masks and there is no penalty for not doing so.

       66.     At intake, new arrivals are also given surgical masks and instructed on how to properly

wear them. In addition, instructional postings on how to wear face masks are posted in all the dorms in

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both English and Spanish. See Attachments.

       67.     All Mesa Verde staff wear protective masks any time that they are within a six-foot range

of any detainee. As of May 27, 2020, GEO policy states that employees are required to wear masks in all

common areas and when other individuals are present within proximity.

       68.     All Mesa Verde medical staff are required to wear surgical masks at all times, and since

April 16, 2020 are required to wear a N95 mask during all patient encounters, including pill call.

                     MINIMIZING AND SCREENING OUTSIDE CONTACTS

       69.     Mesa Verde has suspended all social visitations and has encouraged non-contact visits

with attorneys, while continuing to provide access to attorneys through various telephonic means as

established under the Lyon v. U.S. Immigration and Customs Enforcement settlement agreement. In

cases where in-contact legal visits are requested, Mesa Verde staff schedules such visits but notifies

attorneys in advance that they must wear appropriate personal protective equipment and submit to

medical screening prior to entering the facility.

       70.     Mesa Verde is screening all staff and vendors when they enter the facilities for any

symptoms, including body temperatures. This screening includes all medical staff, who have their

temperature screened at ingress daily, and every 12 hours while on-site.

                                     CONTINUED MONITORING

       71.     ICE and ERO management staff, including the Deputy Field Office Director and myself,

hold several meetings every week and are in constant communication twenty-four hours a day, seven

days a week regarding Mesa Verde and issues stemming from COVID-19. Additionally, ICE staff is in

daily contact with the Facility Administrator and his staff, including medical, at Mesa Verde over the

health and safety of detainees. Given the ICE protocols, Mesa Verde staff and ICE officers are taking

appropriate measures to ensure the health and safety of detainees and will continue to do so. ICE is on-

site daily and can address any issues, as presented or directed, to ensure the ICE protocols are in place

and to report back any issues they may observe that need to be addressed.

       72.     ICE will continue to review its detained population of people who are “at higher risk for

severe illness,” as identified by the CDC, to determine if detention remains appropriate, considering the

detainee’s health, public safety and mandatory detention requirements, and adjusted custody conditions,

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when appropriate, to protect health, safety and well-being of its detainees. Mesa Verde medical staff will

examine any detainee promptly who submits a medical request due to symptoms consistent with

COVID-19. ICE staff is on-site daily and is able to address issues as presented and report back any

issues they may observe that need to be addressed.

       I affirm under penalty of perjury that the foregoing is true and correct to the best of my

knowledge and belief. Executed at Bakersfield, California.



DATED: May 27, 2020




                                             Alexander Pham




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                       STOP THE SPREAD OF GERMS
            Help prevent the spread of respiratory diseases like COVID-19.

Avoid close contact with people who are sick.           Cover your cough or sneeze with a tissue,
                                                        then throw the tissue
                                                        in the trash.




                                                                               Clean and disinfect frequently
                                                                               touched objects and surfaces.




  Avoid touching your eyes, nose, and mouth.




                         Stay home when you are sick,
                         except to get medical care.




                                                           Wash your hands often with soap
                                                           and water for at least 20 seconds.



                                                          For more information: www.cdc.gov/COVID19
                                                                                                                CS314915-A
     ‫أ قف ــو ا ا نتش ــا ر ا لجر ا ثي ــم‬
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             ‫ﺳــﺎﻋﺪ ﻓﻲ ﻣﻨﻊ اﻧﺘﺸــﺎر أﻣﺮاض اﻟﺠﻬﺎز اﻟﺘﻨﻔﺴــﻲ ﻣﺜﻞ ﻓﯿﺮوس ﻛﻮروﻧﺎ ‪.COVID-19‬‬

                                     ‫ﻏطِ ﻓﻣك ﺑﻣﻧدﯾل ورﻗﻲ ﻋﻧد اﻟﺳﻌﺎل أو اﻟﻌطس‪،‬‬                                     ‫ﺗﺟﻧب اﻻﺣﺗﻛﺎك ﺑﺎﻟﻣرﺿﻰ‪.‬‬
                                                            ‫وﺗﺧﻠص ﻣن اﻟﻣﻧدﯾل‬
                                                      ‫اﻟﻣﺳﺗﻌﻣل ﻓﻲ ﺳﻠﺔ اﻟﻘﻣﺎﻣﺔ‪.‬‬




         ‫اﺣرص ﻋﻠﻰ ﺗﻧظﯾف وﺗطﮭﯾر اﻷﺷﯾﺎء‬
            ‫واﻷﺳطﺢ اﻟﺗﻲ ﺗﻠﻣﺳﮭﺎ ﺑﺎﺳﺗﻣرار‪.‬‬




                                                                                                        ‫ﺗﺟﻧب ﻟﻣس ﻋﯾﻧﯾك وأﻧﻔك وﻓﻣك‪.‬‬




                                                                                          ‫اﻟزم اﻟﺑﻘﺎء ﻓﻲ اﻟﻣﻧزل‬
                                                                             ‫وﻻ ﺗﺧرج إﻻ ﻟﺗﻠ ّﻘﻲ اﻟرﻋﺎﯾﺔ اﻟطﺑﯾﺔ‪.‬‬




                                           ‫اﻏﺳل ﯾدﯾك ﺑﺎﻟﻣﺎء واﻟﺻﺎﺑون ﺑﺷﻛل‬
                                             ‫ﻣﺗﻛرر ﻟﻣدة ‪ 20‬ﺛﺎﻧﯾﺔ ﻋﻠﻰ اﻷﻗل‪.‬‬



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           阻止细菌传播
           帮助预防呼吸道病毒如 COVID-19 的传播。

避免与患病的人近距离接触。                        咳嗽或打喷嚏时用纸巾遮住，
                                     然后将纸巾丢进
                                     垃圾桶。




                                                        对频繁接触的物体和表面
                                                        进行清洁和除菌。




避免触碰自己的眼睛、鼻子和嘴巴。




             生病时请留在家中，
             除非要接受诊疗护理。




                                        经常用肥皂和水洗手，
                                        每次至少 20 秒钟。



                                       详细信息请参见：www.cdc.gov/COVID19-ch
                                                                          CS314915-C
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  ‫مانــع شــیوع میکروب ها شــوید‬
                          ‫ﺑﻪ ﭘﯿﺸــﮕﯿﺮی از اﻧﺘﻘﺎل ﺑﯿﻤﺎری ﻫﺎی ﺗﻨﻔﺴــﯽ ﻣﺎﻧﻨﺪ ﮐﻮوﯾﺪ ‪ -19‬ﮐﻤﮏ ﮐﻨﯿﺪ‪.‬‬

                  ‫در ھﻧﮕﺎم ﺳرﻓﮫ و ﻋطﺳﮫ ﮐردن دھﺎن ﺧود را ﺑﺎ دﺳﺗﻣﺎل‬                                ‫از ﻧزدﯾﮏ ﺷدن ﺑﮫ اﻓراد ﺑﯾﻣﺎر ﺑﭘرھﯾزﯾد‪.‬‬
                                      ‫ﮐﺎﻏذی ﺑﭘوﺷﺎﻧﯾد و ﺳﭘس دﺳﺗﻣﺎل‬
                                            ‫را در ﺳطل زﺑﺎﻟﮫ ﺑﯾﻧدازﯾد‪.‬‬




                 ‫ﺳطوح و اﺷﯾﺎﯾﯽ ﮐﮫ ﻣرﺗﺑﺎ ً ﻟﻣس‬
            ‫ﻣﯽ ﺷوﻧد را ﺗﻣﯾز و ﺿدﻋﻔوﻧﯽ ﮐﻧﯾد‪.‬‬




                                                                                             ‫از دﺳت زدن ﺑﮫ ﭼﺷم ھﺎ‪ ،‬ﺑﯾﻧﯽ و دھﺎن ﺧود‬
                                                                                                                      ‫ﺧودداری ﮐﻧﯾد‪.‬‬



                                                                                ‫در ﺻورت ﺑﯾﻣﺎری ﺑﮫ ﻏﯾر از ﻣواﻗﻌﯽ ﮐﮫ ﻧﯾﺎز‬
                                                                                    ‫ﺑﮫ ﻣراﻗﺑت ﭘزﺷﮑﯽ دارﯾد در ﺧﺎﻧﮫ ﺑﻣﺎﻧﯾد‪.‬‬




                                          ‫دﺳﺗﮭﺎی ﺧود را ﻣرﺗﺑﺎ ً ﺑﺎ آب و ﺻﺎﺑون‬
                                              ‫ﺣداﻗل ﺑﮫ ﻣدت ‪ 20‬ﺛﺎﻧﯾﮫ ﺑﺷوﯾﯾد‪.‬‬



                           ‫‪cdc.gov/COVID19‬‬
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‫از انتقـــال میکـــروب هـــا جلوگیـــری کنیـــد‪.‬‬
                          ‫ﺑﻪ ﭘﯿﺸــﮕﯿﺮی از اﻧﺘﻘﺎل ﺑﯿﻤﺎری ﻫﺎی ﺗﻨﻔﺴــﯽ ﻣﺎﻧﻨﺪ ﮐﻮوﯾﺪ ‪ -19‬ﮐﻤﮏ ﮐﻨﯿﺪ‪.‬‬

                   ‫در ھﻧﮕﺎم ﺳرﻓﮫ و ﻋطﺳﮫ ﮐردن دھﺎن ﺧود را ﺑﺎ دﺳﺗﻣﺎل‬                                ‫از ﻧزدﯾﮏ ﺷدن ﺑﮫ اﻓراد ﺑﯾﻣﺎر ﺑﭘرھﯾزﯾد‪.‬‬
                                       ‫ﮐﺎﻏذی ﺑﭘوﺷﺎﻧﯾد و ﺳﭘس دﺳﺗﻣﺎل‬
                                             ‫را در ﺳطل زﺑﺎﻟﮫ ﺑﯾﻧدازﯾد‪.‬‬




                  ‫ﺳطوح و اﺷﯾﺎﯾﯽ ﮐﮫ ﻣرﺗﺑﺎ ً ﻟﻣس‬
             ‫ﻣﯽ ﺷوﻧد را ﺗﻣﯾز و ﺿدﻋﻔوﻧﯽ ﮐﻧﯾد‪.‬‬




                                                                                              ‫از دﺳت زدن ﺑﮫ ﭼﺷم ھﺎ‪ ،‬ﺑﯾﻧﯽ و دھﺎن ﺧود‬
                                                                                                                       ‫ﺧودداری ﮐﻧﯾد‪.‬‬



                                                                                 ‫در ﺻورت ﺑﯾﻣﺎری ﺑﮫ ﻏﯾر از ﻣواﻗﻌﯽ ﮐﮫ ﻧﯾﺎز‬
                                                                                     ‫ﺑﮫ ﻣراﻗﺑت ﭘزﺷﮑﯽ دارﯾد در ﺧﺎﻧﮫ ﺑﻣﺎﻧﯾد‪.‬‬




                                           ‫دﺳﺗﮭﺎی ﺧود را ﻣرﺗﺑﺎ ً ﺑﺎ آب و ﺻﺎﺑون‬
                                               ‫ﺣداﻗل ﺑﮫ ﻣدت ‪ 20‬ﺛﺎﻧﯾﮫ ﺑﺷوﯾﯾد‪.‬‬



                           ‫‪cdc.gov/COVID19‬‬
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    EMPÊCHER LA PROPAGATION DES GERMES

     Aidez à éviter la propagation des maladies respiratoire comme le COVID-19.
                                                          Quand vous toussez ou reniflez, couvrez-vous
Évitez les contacts rapprochés avec des malades.          la bouche et le nez avec
                                                          un mouchoir, puis jetez
                                                          le mouchoir à la poubelle.




                                                                                 Nettoyez et désinfectez fréquemment
                                                                                 les surfaces et les objets touchés.




  Évitez de vous toucher les yeux, le nez ou la bouche.




                          Quand vous êtes malade,
                          restez chez vous et ne sortez que
                          pour obtenir des soins médicaux.




                                                              Lavez-vous les mains à l’eau
                                                              savonneuse pendant au moins
                                                              20 secondes.



                                                                           cdc.gov/COVID19
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              병원균 확산 방지
코로나19와 같은 호흡기 질환이 전파되지 않도록 협조해 주세요.

환자와의 밀접한 접촉을 피하세요.                    기침이나 재채기를 할 때는 휴지로 막고,
                                      휴지는 쓰레기통에
                                      버리세요.




                                                         자주 만지는 물건과 표면을
                                                         청소하고 소독하세요.




 눈, 코, 입을 손으로 만지지 마세요.




             몸이 아프면 진료를 위한 외출
             외에는 집에 머무르세요.




                                         손을 비누와 물로 20초
                                         이상 자주 씻으세요.



                                            자세한 정보는 다음 사이트를 참고하세요.
                                            www.cdc.gov/COVID19
                                                                           CS314915-A
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   ОСТАНОВИТЕ РАСПРОСТРАНЕНИЕ МИКРОБОВ

Помогите предотвратить распространение респираторных заболеваний, таких как COVID-19.

Избегайте близкого контакта с больными людьми.          Во время кашля или чихания прикрывайте
                                                        нос и рот салфеткой,
                                                        использованную салфетку
                                                        выбрасывайте в мусор.




                                                                             Мойте и дезинфицируйте предметы
                                                                             и поверхности, до которых часто
                                                                             дотрагиваетесь.




 Старайтесь не прикасаться к глазам, носу или рту.




                         Если вы больны, выходите
                         из дома только для получения
                         медицинской помощи.




                                                          Часто мойте руки водой с мылом
                                                          в течение не менее 20 секунд.




                                                                        cdc.gov/COVID19
                                                                                                 CS314915-J March 16, 2020 1:02 PM
                               DETENGA LA PROPAGACIÓN
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ENFERMEDAD DEL
CORONAVIRUS                    DE LOS MICROBIOS
             Ayude a prevenir la propagación de virus respiratorios como el nuevo COVID-19.

    Evite el contacto cercano con las personas enfermas.          Cúbrase la nariz y la boca con un pañuelo
                                                                  desechable al toser o estornudar
                                                                  y luego bótelo a la basura.




                                                                                    Limpie y desinfecte los objetos y las
                                                                                    superficies que se tocan frecuentemente.




       Evite tocarse los ojos, la nariz y la boca.




                           Quédese en casa si está enfermo,
                           excepto para buscar atención médica.




                                                                     Lávese las manos frecuentemente
                                                                     con agua y jabón por al menos
                                                                     20 segundos.



                                                           Para obtener más información: www.cdc.gov/COVID19-es
                                                                                                                          CS314915-B
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    ЗУПИНИТИ ПОШИРЕННЯ ЗБУДНИКА
Допомагайте у попередженні поширення респіраторних захворювань, як COVID-19.

 Уникайте контактів з людьми, що захворіли.             Коли кашляєте або чхаєте, прикривайте
                                                        рот хусткою, після чого
                                                        викидайте хустку
                                                        у смітник.




                                                                              Проводьте очистку та дезінфекцію
                                                                              речей та поверхонь, котрих часто
                                                                              торкаєтеся.




   Уникайте торкання очей, носа та рота.



                         Якщо захворієте, залишайтеся
                         вдома, окрім випадків,
                         коли необхідно звернутися
                         по медичну допомогу.




                                                          Мийте частіше руки водою з милом
                                                          протягом щонайменше 20 секунд.




                                                                        cdc.gov/COVID19
                                                                                                 CS314915-K CS314915-O March 16, 2020 1:02 PM
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      SHARE FACTS ABOUT COVID-19
Know the facts about coronavirus disease 2019 (COVID-19) and help stop the spread of rumors.

     FACT                 Diseases can make anyone sick
       1
                                                                     FACT      There are simple things you can
                                                                     4
                          regardless of their race or ethnicity.               do to help keep yourself and
                                                                               others healthy.
       Fear and anxiety about COVID-19 can cause
       people to avoid or reject others even though                  • Wash your hands often with soap
       they are not at risk for spreading the virus.                   and water for at least 20 seconds,
                                                                       especially after blowing your nose,
                                                                       coughing, or sneezing; going to
                                                                       the bathroom; and before eating or
                                                                       preparing food.
     FACT                 For most people, the immediate risk of     • Avoid touching your eyes, nose, and
       2                  becoming seriously ill from the virus
                          that causes COVID-19 is thought to
                                                                       mouth with unwashed hands.
                                                                     • Stay home when you are sick.
                          be low.
                                                                     • Cover your cough or sneeze with a
       Older adults and people of any age who have                     tissue, then throw the tissue in
       serious underlying medical conditions may be                    the trash.
       at higher risk for more serious complications
       from COVID-19.
                                                                    FACT        You can help stop COVID-19
                                                                     5          by knowing the signs
                                                                                and symptoms:
                                                                      • Fever
     FACT                 Someone who has completed
                                                                      • Cough
       3                  quarantine or has been released
                          from isolation does not pose a risk of      • Shortness of breath
                          infection to other people.                  Seek medical advice if you
       For up-to-date information, visit CDC’s                        • Develop symptoms
       coronavirus disease 2019 web page.                             AND
                                                                      • Have been in close contact
                                                                        with a person known to have
                                                                        COVID-19 or if you live in or have
                                                                        recently been in an area with
                                                                        ongoing spread of COVID-19.


 CS 315446-A 03/16/2020
                                                                            cdc.gov/COVID-19
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 Social Distancing
 Social distancing means that you should avoid close contact with healthy people. If you are
 sick, you can help stop the spread of disease by social distancing. If you are healthy, you can help
 prevent yourself from getting sick. Social distancing is recommended if Coronavirus Disease
 2019 (COVID-19) is spreading in your community. Local news media and your public health
 department will announce when the disease is spreading locally.




                       6 ft               Stay about 6 feet, about two arm
                                          lengths, away from other people.

                                           » Avoid hugging and handshakes
                                             during this time.




                        Avoid big crowds when you can.

                         » Sometimes this won’t be possible.
                         » If you need to be in a line or a group
                           of people, try to keep about 6 feet of
                           distance from them.




                                                                      Find ways to maintain important
                                                                      connections with friends and
                                                                      family members even while
                                                                      staying physically apart




                                                                    cdc.gov/coronavirus
CS316248B 04/07/2020
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                                                                                                                                 Hands
                                                                                                                               that look
                                                                                                                             clean can still
                                                                                                                               have icky
                                                                                                                                germs!




Wash
Your
Hands!


This material was developed by CDC. The Life is Better with Clean Hands campaign is made possible by a partnership between
the CDC Foundation, GOJO, and Staples. HHS/CDC does not endorse commercial products, services, or companies.
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                                                                                                                                                     ¡Aunque las
                                                                                                                                                   manos se vean
                                                                                                                                                   limpias pueden
                                                                                                                                                   tener microbios
                                                                                                                                                     asquerosos!


             1         Moja
                                                                                                         2        Enjabona



¡Lávate
las                                                                                                                                         3   Restriega

manos!
                                                                                                             4        Enjuaga

              5        Seca
Este material fue elaborado por los CDC. La campaña “La Vida es Mejor con las Manos Limpias” es posible gracias a una asociación entre la
Fundación de los CDC, GOJO Industries y Staples. Los CDC y el HHS no respaldan productos, servicios ni empresas comerciales.
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Detainee Face Mask Usage                                                               The GEO Group, In<. «>




''The Center for Disease Control recommends wearing cloth face coverings in
public settings where other social distancing measures are difficult to maintain
(e.g., grocery stores and pharmacies) ......... "


Detainee Distribution

   •    Each detainee will be issued one protective mask by facility staff.


Usage

   •    Detainees can contact their unit staff officer when masks are needed to be replaced
        before the next issue.


Storage

   •    Storage of masks for re-use by the user will be possible if the mask is not damaged,
        soiled or otherwise unusable.



Protective Mask Donning

   •    Secure ties or loop at middle of
        head and neck
                                                                      HOW TO WEAR
   •    Fit snug to face and below chin
                                                                    A MASK
                                                                    Wear ft with the                        Ensure it covers
                                                                    coloured side                           the nose & mout~
Protective Mask Removal and Storage                                 facing out/white                        fully
                                                                    side facing in
   •    Grasp bottom then top ties or
        elastics and remove
   •    When not in use, store the mask



                                                                                                       ~
        In a location that prevents damage                                                                  Use two fingers
                                                                                                            to press the
        or getting wet or soiled.                                                                           concealed metal
                                                                                                            wire down to fit
                                                                                                            the shape of the
                                                                                                            nose




                                                                                                 04/17/20
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Uso de Mascarilla Para Detenidos                                                     The GEO Group, Inc. <I>




"El Centro para el Control de Enfermedades recomienda usar cubiertas de tela para la cara en
lugares publicos donde otras medidas de distanciamiento social son dificiles de mantener (por
ejemplo, supermercados y farmacias) ....... "

Distribucion de detenidos
   • A cada Detenido(a) se le proveera una mascara protectora por el personal de la
      instalaci6n. Cada detenido(a) que llegue a un centro de procesamiento de ICE, recibira
      una mascara en la entrada.
Uso
  •   Los detenidos (<las) pueden contactar al oficial de personal de su unidad cuando se
      necesiten reemplazar la mascara.
Almacenamiento
  • El almacenamiento de mascaras para su reutilizaci6n por parte del usuario sera posible si
     la mascara no esta dafiada, sucia 6 inutilizable.
Ponerse la mascara protectora
  • Asegurese de que los elasticos esten bien colocados detras de la oreja
  • Asegurese de que la mascara se ajuste a su cara y debajo de su barbilla
Retiro y almacenamiento de mascarillas protectoras
  • Agarre los lazos inferiores y luego los superiores o elasticos y guitar
  • Cuando no este en uso, guarde la mascara en lugar que prevenga el dafio, se moje o
      ensuc1e.
  • En un lugar que evite dafios, se moje o ensucie

Como usar una mascara

                      Uselo con el lado con color hacia                  Asegurese de que cubra
                      afuera. El lado blanco va hacia                    completamente la nariz y la
                      adentro.                                           boca




                      Asegure las elasticos sabre sus                     Use dos dedos para
                      orejas                                              presionar el metal hacia
                                                                          abajo para ajustarlo a la
                                                                          forma de la nariz.
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M E MOR A NDUM                                                      Ge®   Secure Services "
Date:     April 8, 2020                                                 GEO Secure Services TM
                                                              Mesa Verde ICE Processing Center
                                                                           425 Golden State Ave.
To:       Detainee Population                                              Bakersfield , CA 93301

                                                                               Tel: 661 859-1028
                                                                               Fax: 661 859-1108
From:     Facility Administrator Al~                                          www.geogroup.com


RE:       EMPLOYEE PPE

Due to the COVID-19 virus that has hit the US, we continue to monitor the
COVID-19 virus transmission and follow the guidelines distributed by the CDC.
The virus is thought to spread mainly from person to person between people who
are in close contact with one another (within six feet). This is through respiratory
droplets that are produced when a person coughs or sneezes.

As such, we will be providing each staff member an approved surgical mask,
protective eyewear and gloves for the next 30 days. This will help protect the
spread of the COVID-19 virus within the employee group and the detainee
population.

Please continue to practice social distancing as we move forward.

Social Distancing - As it is imperative for your safety, social distancing will be
strictly enforced. Specifically, you should stay at least 6 feet from others, wash
your hands after you touch something and keep your hands away from your nose,
mouth and eyes.

Again, we cannot express the importance of your cooperation over this period to
help fight this virus. If you need any additional information, please contact any
staff member.
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M E M O RAND U M
                                                                         Secure Services·"

Date:     8 de abril de 2020                                           GEO Secure Services™
                                                             Mesa Verde ICE Processing Center
                                                                          425 Golden State Ave.
To:       Poblaci6n detenida                                              Bakersfield, CA 93301

                                                                              Tel: 661 859-1028
                                                                              Fax: 661 859-1108
From:     Administrador de Instalaciones Al~                 -               www.geogroup.com


RE:       EMPLEADA PPE


Debido al virus COVID-19 que ha afectado a los Estados Unidos seguimos
monitoreando la transmisi6n del virus COVID-19 y seguimos la guia distribuidas
por los CDC. Se cree que el virus se propaga principalmente de persona a persona
entre personas que estan en contacto cercano entre ellos ( a menos de seis pies).
Esto es a traves de gotitas respiratorias que se producen cuando una persona tose o
estomuda.

Proporcionaremos a cada miembro del personal una mascara quirurgica aprobada,
gafas protectoras y guantes para los pr6ximos 30 dias. Esto ayudara a proteger la
propagaci6n del virus COVID-19 dentro del grupo de empleados y la poblaci6n de
detenidos.

Porfavor continua practicando el distanciamiento social a medida que avanzamos.

Distancia social: como es imprescindible para su seguridad, la distancia social se
aplicani estrictamente. Especificamente, debe mantenerse al menos a 6 pies de
distancia de los demas, lavarse las manos despues de tocar algo y mantener las
manos alejadas de la nariz, la boca y los ojos.

Nuevamente, no podemos expresar la importancia de su cooperaci6n durante este
periodo para ayudar a combatir este virus. Si necesita informaci6n adicional,
comuniquese con cualquier miembro del personal.
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Facility: Mesa Verde ICE Processing Center CA
Created Date: 2020-05-08 T 08:00:47 by: NALLEN
Participants:
Visitor: NALLEN
Date Range: 2020-03-01 T 00:00:00 - 2020-03-31 T 23:59:59
Number of Records: 1
Timezone: America/Los_Angeles



MESSAGE                        DATE        MESSAGE
              DATE SENT                                     Attachments            MESSAGE BODY                   STATUS   SENDER          RECIPIENT
 TYPE                          READ        SUBJECT


                                                                          I know there may be concerns
                                                                          within our population regarding the
                                                                          prevention and spread of the
                                                                          coronavirus. I’m also sure you have
                                                                          watched the news or talked to
                                                                          family and friends about what has
                                                                          been going on in different parts of
                                                                          the world, as well as here in the
                                                                          United States. We’ve posted some
                                                                          general things in the housing units
                                                                          and other areas that you can do to
                                                                          help prevent you from getting sick,
                                                                          and these things are no different
                                                                          than what you would do for a cold
                                                                          or the flu. Frequent handwashing
                                                                          with soap and water for at least 20
                                                                          seconds, not touching your eyes,
                                                                          nose, and mouth, as well as
                                                                          covering a sneeze or a cough are all
                                                                          important things to do. Making sure
                                                                          your areas are clean is a priority.
                                                                          Things that everybody touches, like
                                                                          the microwaves, phones, tablets,
                                                                          tables, bathrooms, and other
 Facility     2020-03-11 T                 Coronavirus                                                                              Mesa Verde ICE Processing
                                                                          surfaces are all things that need to             NALLEN
Message         15:44:58                   Information                                                                                 Center CA Inmates
                                                                          be wiped down with the cleaning
                                                                          chemicals before and after being
                                                                          used. If you need cleaning supplies,
                                                                          please inform the officers
                                                                          immediately. The staff are doing
                                                                          everything they can to ensure you
                                                                          are as safe as possible. There are
                                                                          also postings for visitors and if
                                                                          anyone is coming to visit and they
                                                                          displaying flu-like symptoms, they
                                                                          are being asked to postpone their
                                                                          visit. I know this may be hard to do,
                                                                          but reducing the risk from the
                                                                          public is also very important. You
                                                                          are encouraged to use the phones
                                                                          and tablets to communicate with
                                                                          friends and family. We will continue
                                                                          to operate our programs and
                                                                          services, such as visitation,
                                                                          volunteer services, and other
                                                                          functions as normal as long as we
                                                                          are able to do so. Our goal is
                                                                          prevention and we all have a part to
                                                                          play in it.
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Facility: Mesa Verde ICE Processing Center CA
Created Date: 2020-05-08 T 08:00:45 by: NALLEN
Participants:
Visitor: NALLEN
Date Range: 2020-03-01 T 00:00:00 - 2020-03-31 T 23:59:59
Number of Records: 1
Timezone: America/Los_Angeles



MESSAGE                        DATE       MESSAGE
              DATE SENT                                 Attachments                MESSAGE BODY                     STATUS   SENDER          RECIPIENT
 TYPE                          READ       SUBJECT


                                                                         Hello everyone, this is Facility
                                                                         Administrator Allen with some follow-
                                                                         up on personal protective measures
                                                                         you all should be doing. SInce the
                                                                         beginning of the social outbreak,
                                                                         we've posted bulletins on hand
                                                                         washing, covering your cough and
                                                                         sneeze, and ensuring you maintain a
                                                                         clean environment. Town hall
                                                                         meetings were conducted by
                                                                         medical staff. One area you have to
                                                                         remain focused on is maintaining a
                                                                         sanitary environment in your dorms.
                                                                         The cleaning chemicals that are
                                                                         provided are more than sufficient to
                                                                         maintain a sanitary environment as
                                                                         long as you use them frequently. As
                                                                         a reminder, bath soap and shampoo
 Facility     2020-03-25 T                COVID-19             View                                                                   Mesa Verde ICE Processing
                                                                         are not to be used for cleaning                     NALLEN
Message         08:01:14                  Prevention        Attachment                                                                   Center CA Inmates
                                                                         bathrooms. Although they may look
                                                                         like they are cleaning because of the
                                                                         bubbles and foam they produce, they
                                                                         do not disinfect and kill germs. All
                                                                         high touch surfaces like the toilets,
                                                                         sinks, phones, tablets, and
                                                                         microwave handle should be wiped
                                                                         down after use. Do not spray
                                                                         cleaners directly onto the tablet or
                                                                         phones. Spray it on a rag or paper
                                                                         towel first and then wipe down the
                                                                         surface. You are not alone in this.
                                                                         Facility staff have to clean their areas
                                                                         just as you do. Although you are
                                                                         probably in the safest environment
                                                                         there is right now, we are all doing
                                                                         our part to ensure it remains that
                                                                         way until this crisis is over.
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Facility: Mesa Verde ICE Processing Center CA
Created Date: 2020-05-08 T 08:00:24 by: NALLEN
Participants:
Visitor: NALLEN
Date Range: 2020-03-01 T 00:00:00 - 2020-03-31 T 23:59:59
Number of Records: 1
Timezone: America/Los_Angeles



MESSAGE                         DATE       MESSAGE
               DATE SENT                                    Attachments            MESSAGE BODY                    STATUS   SENDER          RECIPIENT
 TYPE                           READ       SUBJECT


                                                                          Hello everyone, this is Facility
                                                                          Administrator Allen. I hope you are
                                                                          doing well under the circumstances.
                                                                          I just wanted to let you know what
                                                                          we have been doing in regards to
                                                                          screening efforts. All staff are
                                                                          screened with a questionnaire and
                                                                          receive a temperature check before
                                                                          they can enter the facility. All
                                                                          detainees are screened in the sally
                                                                          port before they come in to the
                                                                          facility with the same general
                                                                          questions and get a temperature
                                                                          check. Some of you might have
                                                                          already been through the screening
                                                                          process before coming in and are
                                                                          aware of what is being done. Also,
                                                                          wearing a mask is not recommended
                                                                          by the Center for Disease Control
                                                                          (CDC) if you are not under the
                                                                          COVID-19 protocols. There are still
                                                                          the common illnesses out there like
                                                                          allergies, colds, and flu. Some of you
                                                                          may be experiencing them as do
                                                                          some of the staff. People still cough
  Facility    2020-03-30 T                   General                      and sneeze sometimes, but that                             Mesa Verde ICE Processing
                                                                                                                            NALLEN
 Message        09:30:02                   Information                    doesn't mean everyone is walking                              Center CA Inmates
                                                                          around with the coronavirus.
                                                                          However, it is still very important to
                                                                          practice good hygiene by washing
                                                                          your hands with soap and water for
                                                                          at least 20 seconds, cover your
                                                                          sneeze or cough with a tissue or
                                                                          your elbow area, and keep your
                                                                          distance from others. Just as
                                                                          important if not more, is to ensure
                                                                          you clean common area surfaces
                                                                          frequently with the disinfectant
                                                                          cleaner that's provided. Phones,
                                                                          tablets, hot water dispensers, and
                                                                          microwaves should be wiped down
                                                                          with the disinfectant after use too.
                                                                          Not cleaning or spreading
                                                                          information that is not true does not
                                                                          help in maintaining a sanitary living
                                                                          area. Having concerns about what is
                                                                          going on in the world is expected,
                                                                          but know that the facility staff are
                                                                          committed to ensuring you have a
                                                                          safe environment while you are
                                                                          undergoing your immigration
                                                                          proceedings.
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Facility: Mesa Verde ICE Processing Center CA
Created Date: 2020-05-08 T 07:59:48 by: NALLEN
Participants:
Visitor: NALLEN
Date Range: 2020-04-08 T 00:00:00 - 2020-05-08 T 23:59:59
Number of Records: 1
Timezone: America/Los_Angeles



MESSAGE                       DATE
             DATE SENT                  MESSAGE SUBJECT       Attachments           MESSAGE BODY                  STATUS   SENDER       RECIPIENT
 TYPE                         READ


                                                                            Hello everyone, we are in the
                                                                            process of installing some liquid
                                                                            soap and paper towel dispensers
                                                                            in the dorms as we get them.
                                                                            They have been hard to come by
                                                                            and so is getting large quantities
                                                                            of the liquid soap. The purpose for
                                                                            the liquid soap and paper towels                           Mesa Verde ICE
 Facility    2020-04-16 T              Soap and Paper Towel
                                                                            are to wash and dry your hands.                NALLEN   Processing Center CA
Message        16:06:13                     Dispensers
                                                                            Avoid using the soap and paper                                Inmates
                                                                            towels for other things other than
                                                                            washing your hands. If you waste
                                                                            the items, there may be some
                                                                            delay in getting the dispensers
                                                                            refilled. Thanks for your
                                                                            cooperation, Facility Administrator
                                                                            Allen.
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Facility: Mesa Verde ICE Processing Center CA
Created Date: 2020-05-08 T 07:59:37 by: NALLEN
Participants:
Visitor: NALLEN
Date Range: 2020-04-08 T 00:00:00 - 2020-05-08 T 23:59:59
Number of Records: 1
Timezone: America/Los_Angeles



MESSAGE                         DATE       MESSAGE
               DATE SENT                                    Attachments             MESSAGE BODY                     STATUS   SENDER          RECIPIENT
 TYPE                           READ       SUBJECT


                                                                          Hello everyone. Just some facility
                                                                          updates to pass along. As you know,
                                                                          liquid soap and paper towel
                                                                          dispensers have been installed in all
                                                                          dorms. The soap and paper towels
                                                                          are meant for handwashing activities
                                                                          only. If you need paper towels for
                                                                          something else, please see the dorm
                                                                          officer. Also, hygiene products and
                                                                          the cleaning chemicals can always
                                                                          be retrieved from the dorm officer.
                                                                          The dorms all have postings on on
                                                                          CDC guidelines on covering your
                                                                          cough and sneeze, not sharing
                                                                          items, and the highly important
                                                                          process of wiping down the high
                                                                          touch surfaces like the tablets,
  Facility    2020-05-05 T                                                                                                             Mesa Verde ICE Processing
                                         Facility Update                  phones, microwaves, and tables,                     NALLEN
 Message        13:37:44                                                                                                                  Center CA Inmates
                                                                          etc. There are also instructions on
                                                                          how to wear your mask. We were
                                                                          able to grind the surface for the
                                                                          basketball court and handball areas.
                                                                          Handball play has now been
                                                                          reimplemented. Handballs are not to
                                                                          be taken back to the dorms; give
                                                                          them back to the recreation officer
                                                                          when finished. If you have any
                                                                          questions or concerns, you can relay
                                                                          it to staff or submit a request on the
                                                                          tablet. As a reminder, facility staff do
                                                                          not have any involvement with your
                                                                          immigration proceedings. If you are
                                                                          having difficulty reaching ICE staff,
                                                                          please let us know so we can pass it
                                                                          along. Thanks.
